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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
District of Columbia [-|
Case: 1:25-cv-01046
Assigned To - Unassigned
. ) G te . 4/7/20
Assia 08 Gen. Civ. (F-DECK)
VO U) Description: Pro Se Gen.
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. 4.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) [ Yes A No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-y- )
)
Lv W .
mon > Sih, hon Ashunghion DC.
Defendant(s) )
(Write the full name of each defendant who is being = if the
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page )

with the full list of names.)
COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Mol 0 (OL O | hu
Street Address 373 s6 Eo a2uy000| he “a

City and County (rath CRS fh CB
State and Zip Code YW BOLE
Telephone Number

E-mail Address ARTOLEAR OD pmol COM

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual. defendant,
include the person's job or title (ifknown). Attach additional pages if needed. ©

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Defendant No. 1

Name
. Job or Title (if known)

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

Defendant No. 4 ~
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
ederal question [| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual lV.
The plaintiff, (name) Ola 0 WR , is a citizen of the

State of (ramey YOU QYE
¢

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) :

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2: The Defendant(s)

a. If the defendant is an individual

: »y .
The defendant, (name) dn On Aaton D ‘ C . , is a citizen of
the State of (name) \Maghut nidon I (> . Orisa citizen of
J

(foreign nation)

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its
principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation) j

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Ye

TI. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
:nvolved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

unitive money damages. . ape
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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

non frivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: OA O f. olde c

eo

Signature of Plaintiff Coe
Printed Name of Plafatite-— FLA Q — MWohQe

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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